                 Case 2:21-mj-30590-DUTY ECF No. 1, PageID.1
                                              AUSA:              Filed 12/14/21 Telephone:
                                                      Steven P. Cares             Page 1 of   8 226-9139
                                                                                           (313)
AO 91 (Rev. ) Criminal Complaint                Special Agent:         Brett Mason, FBI               Telephone: (313) 965-5085

                                        UNITED STATES DISTRICT COURT
                                                                  for the
                                                    Eastern District of Michigan

United States of America                                              Case: 2:21−mj−30590
   v.                                                                 Assigned To : Unassigned
Michael Pacteles                                                      Assign. Date : 12/14/2021
                                                                      CMP: SEALED MATTER (MAW)




                                                      CRIMINAL COMPLAINT

         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.

         On or about the date(s) of          July 19, 2019 to December 17, 2019      in the county of                 Wayne        in the
       Eastern           District of         Michigan         , the defendant(s) violated:
                  Code Section                                               Offense Description
18 U.S.C. Section 666(a)(1)(B)                             Bribery in programs receiving federal funds




         This criminal complaint is based on these facts:

                                        See Attached Affidavit.




     Continued on the attached sheet.
                                                                                               Complainant’s signature

                                                                         Brett Mason, Special Agent, Federal Bureau of Investigation
                                                                                                Printed name and title
Sworn to before me and signed in my presence
DQGRUE\UHOLDEOHHOHFWURQLFPHDQV


Date: December 14, 2021                                                                           Judge’s signature

City and state: Detroit, Michigan 48226                                       Elizabeth Stafford, United States Magistrate Judge
                                                                                                Printed name and title
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               Affidavit in Support of a Criminal Complaint

     The affiant, Brett Mason, being duly sworn, deposes and states as

follows:

                           INTRODUCTION

     1.    I submit this affidavit in support of a complaint charging

MICHAEL PACTELES, who was, at the time of the conduct in the case,

a detective with the Detroit Police Department (“DPD”), with federal

programs bribery, in violation of 18 U.S.C. § 666(a)(1)(B). As explained

in more detail below, PACTELES agreed to provide sensitive police

information, including vehicle registration information from the

Michigan Law Enforcement Information Network (or LEIN) in

exchange for things of value. In fact, PACTELES received a total of

$7,724 in things of value—a salvaged used car, tax, title, and plate costs

(valued at $4,424) and $3,200 in cash—for agreeing to provide this

information.

     2.    I am a “federal law enforcement officer” within the meaning

of Federal Rule of Criminal Procedure 41(a)(2)(C). I am a Special Agent

with the FBI Detroit, Michigan Field Office (FBI Detroit), assigned to


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the Public Corruption squad, which is located in the Eastern District of

Michigan.

     3.     I make this affidavit from personal knowledge based on my

participation in this investigation, including reports from other law

enforcement agents, communications with others who have personal

knowledge of the events and circumstances described herein, and

information gained through my training and experience. The

information outlined below is provided for the limited purpose of

establishing probable cause and does not contain all details or all facts

of which I am aware relating to this investigation.

                          PROBABLE CAUSE

     4.     Agents learned the following information from in-person and

telephonic interviews, recordings, and text messages.

     5.     In 2019, an individual involved in the towing industry

(“Tower A”) possessed an inventory of vehicles, some of which had

previously been stolen. Tower A contacted DPD and asked for an officer

to come and “recover” the vehicles. (I know from my training,

experience, and communications with other officers / agents, that

“recover” refers to a specific DPD process where stolen vehicles are
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officially documented as having been seized. Then, DPD or the tow

company makes official notifications to the owner, lien holder, or other

interested parties. If there are no interested parties, the vehicle is

auctioned and the tow company can subtract towing and storage fees

from the auction price.)

     6.      On July 19, 2019, then DPD detective PACTELES showed

up at Tower A’s yard to discuss the inventory of vehicles. PACTELES

explained to Tower A that his daughter needed a car. When Tower A

offered to look for one, PACTELES responded that he would “owe

[Tower A] forever” if Tower A got him the car.

     7.      On July 19, 2019, PACTELES sent a text message to

Tower A, explaining that “Both cars have been recovered and out of the

system” so Tower A “[is] good.” In response, Tower A sent a message

that “I’ll let u know on car after I go threw [sic] them.”

     8.      Because the stolen vehicles were now not in DPD’s system,

PACTELES later told Tower A that he can “do what you want with

them.” (A few weeks later, a DPD sergeant learned what PACTELES

had done and required PACTELES to properly recover the stolen

vehicles.)

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      9.    On July 22, 2019, Tower A sent a text message to

PACTELES that he “found a good shape 08 impala of [sic] u want to

check [it] out.” PACTELES responded “Awesome..thanks.”

      10.   On September 19, 2019, Tower A sent a text message to

PACTELES asking “Did u end up handling car for ur daughter? I still

have that impala on the side.” PACTELES responded that “yes we are

still looking for a car.” He asked “can I come now?” Tower A explained

that he was “[n]ot there” and wanted to “keep between us” because

“[e]mployees [are] nosey.” So Tower A asked PACTELES to “swing

threw [sic] on Saturday morning?” PACTELES agreed to meet that

Saturday. But the meeting did not take place. Instead, PACTELES sent

a text message on September 23, 2019 that he “had an emergency over

the weekend” and explained he would “swing by tomorrow.”

      11.   The following day, Tower A told PACTELES to “let me know

when ur [sic] coming.” Tower A also texted that he might need

PACTELES to “look something up for me.” PACTELES responded “Ok

cool.. is 11 ok?”

      12.   On September 24, 2019, PACTELES met with Tower A and

an undercover agent (“UC”). Tower A showed PACTELES a vehicle.

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Tower A also showed PACTELES a piece of paper with vehicle

identification numbers written on it, asking PACTELES to find out “the

impound date and the department.” PACTELES explained that he “can

run those.” While looking at the vehicle, Tower A explained that

PACTELES “ain’t gotta owe me” for the car—that he “just need a couple

little things like that.”

      13.   On September 27, 2019, PACTELES sent a text message to

Tower A that he would “have that sheet completed on Monday,”

explaining that he had “been out sick for a few days.”

      14.   On October 4, 2019, Tower A sent a text message with

license plate information, namely three capital letters followed by three

numbers. On October 7, 2019, PACTELES responded that he “just had

someone run it” and it’s “a rental car company” so Tower A was “good.”

      15.   On October 22, 2019, PACTELES met with Tower A and the

UC. During this meeting, Tower A explained he “trip[ped] out” because

a “car was following him everywhere,” but felt better once PACTELES

“ran it for [him]” and he learned it was a “rental.” At this meeting,

Tower A gave PACTELES a Chevrolet Impala. For the title paperwork,

Tower A explained that he was “saying” PACTELES paid $3,900 for the

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vehicle “if anybody ever asked.” Tower A also gave PACTELES $800 in

cash to use for insurance, saying this was so Tower A was good “for a

while”—so that if Tower A “need[s] something,” PACTELES would

“answer the phone.” PACTELES responded “yeah … of course.”

     16.   On December 5, 2019, PACTELES asked Tower A for $1,500

or $1,600. Tower A said he would give the money because PACTELES

had done him “favors”—that he “scratched my back, I’m going to scratch

yours.” Tower A said he would give PACTELES $2,000 to “help me

[Tower A] out when I need it.”

     17.   On December 10, 2019, the UC gave PACTELES $2,000 on

behalf of Tower A. The UC explained that he needed someone “on the

inside.” PACTELES said he would “take care of my end.”

     18.   On December 11, 2019, Tower A told PACTELES that he

would give him $500. (PACTELES and Tower A had spoken previously

about getting insurance coverage for the Impala that Tower A

previously gave. Tower A said he would give PACTELES $500 to help

pay for the insurance.)

     19.   On December 17, 2019, Tower A provided PACTELES with

$500. Tower A clarified that he would need “little” things, like searching

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or “running” a plate. PACTELES explained that he was in it “to help

your [Tower A’s] business.”

     20.   The City of Detroit received more than $10,000 in federal

funds during the 2019 calendar year.

                              CONCLUSION

     21.   Based on the information stated above, there is probable

cause to believe that MICHAEL PACTELES committed bribery in

violation of 18 U.S.C. § 666(a)(1)(B).

                                         ___________________________
                                            ______________________
                                            tt Mason, Special Agen
                                         Brett                Agent
                                         Federal Bureau of Investigation



Sworn to before me and signed in my
presence and/or by reliable electronic
means.


________________________________________
Honorable Elizabeth A. Stafford
United States Magistrate Judge
Eastern District of Michigan




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